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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )               8:08MJ33
                     Plaintiff,                   )
                                                  )               ORDER
       vs.                                        )
                                                  )
JOHNNY TREVINO                                    )
                                                  )
             Defendant.                           )
_____________________________________                          (CONSOLIDATED)

UNITED STATES OF AMERICA,                         )
                                                  )               8:08MJ34
                     Plaintiff,                   )
                                                  )               ORDER
       vs.                                        )
                                                  )
SILVIA VENZOR-ESTRADA,                            )
                                                  )
                 Defendant.                       )

                    IN RE:           MATERIAL WITNESSES:

                                      DANTE RAMIREZ-RIVERA
                                      MANUEL FERNANDO HERNANDEZ-AYALA
                                      JACINTO RODRIGUEZ-LOPEZ
                                      JUAN CARLOS CALZADA CORTEZ
                                      JOSE TRINIDAD BERUMEN-LOPEZ


       This matter is before the court on the applications of the United States and the
defendants for the arrest and detention of material witnesses, Dante Ramirez-Rivera,
Manuel Fernando Hernandez-Ayala, Jacinto Rodriguez-Lopez, Juan Carlos Calzada
Cortez, and Jose Trinidad Berumen-Lopez. The court having found the applications set
forth the materiality of the witnesses’ testimony in the above-captioned matters and it may
become impracticable to secure the presence of the witnesses by subpoena, arrest
warrants were issued for the arrest of the witnesses pursuant to 18 U.S.C. § 3144.
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           Following the witnesses’ arrests, the witnesses were brought before the
undersigned magistrate judge for a hearing on March 13, 2008. Dante Ramirez-Rivera
appeared with his court-appointed counsel, William J. Bianco; Manuel Fernando
Hernandez-Ayala appeared with his court-appointed counsel, John D. McDermott; Jacinto
Rodriguez-Lopez appeared with his court-appointed counsel, Hugh Reefe; Juan Carlos
Calzada Cortez appeared with his court-appointed counsel, Casey J. Quinn; and Jose
Trinidad Berumen-Lopez appeared with his court-appointed counsel, M. Scott Vander
Schaaf. Assistant U.S. Attorney Michael P. Norris represented the United States. During
the hearing, Laura Garcia-Hein, a certified interpreter in the Spanish language, was
present.
      The court took judicial notice of the application and attached affidavit and an
Immigration Control Enforcement (ICE) detainer for each of the witnesses which was
placed with the U.S. Marshal. None of the witnesses presented any evidence or requested
a hearing on the request for detention as a material witness.
      I find that the testimony of each of the witnesses would be material in these criminal
proceedings against Johnny Trevino and Silvia Venzor-Estrada. I further find it may
become impracticable to secure the presence of the witnesses by subpoena if the
witnesses abscond to Mexico if they were released from custody on conditions. Since the
ICE has placed a detainer with the U.S. Marshal for deportation proceedings regarding
each witness and each witness has no roots in this community or state, I find there is no
condition or combination of conditions that would reasonablely assure the presence of each
witness for the upcoming criminal proceedings in these matters if he was released on
conditions.


      IT IS ORDERED:
      1.       The witnesses, Dante Ramirez-Rivera, Manuel Fernando Hernandez-Ayala,
Jacinto Rodriguez-Lopes, Juan Carlos Calzada Cortez, and Jose Trinidad Berumen-Lopez,
are committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. Each witness shall

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be afforded a reasonable opportunity for private consultation with his counsel. On order
of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver each witness to the United States Marshal
for the purpose of an appearance in connection with a court proceeding.
       2.     Any motion or request for a deposition of the witness pursuant to Fed. R.
Crim. P. 15(a) and 18 U.S.C. § 1344 shall be served on all parties to this case.
       DATED this 13th day of March, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge




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